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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


    TRAVIS LEBLANC, et al.,

                   Plaintiffs,

          v.
                                                                     Civil Action No. 25-0542 (RBW)
    UNITED STATES PRIVACY AND CIVIL
    LIBERTIES OVERSIGHT BOARD, et al.,

                   Defendants.


          DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT AND
         OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         Defendants, the U.S. Privacy and Civil Liberties Oversight Board, Beth A. Williams,

Jennifer Fitzpatrick, Trent Morse, and Donald J. Trump, 1 respectfully oppose Plaintiffs’ motion

for summary judgment and cross-move for summary judgment pursuant to Federal Rule of Civil

Procedure 56. Because there is no genuine issue of material fact, summary judgment should be

entered in Defendants’ favor.

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         All individual Defendants were sued in their official capacities.
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Dated: April 3, 2025               Respectfully submitted,

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